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                    EXHIBIT 1
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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

 CRYSTAL BROWN, et al., on Behalf of               )
 Themselves and a Class of Similarly Situated      )
 Persons,                                          )
                                                   )
                          Plaintiffs,              )   Case No. 17-cv-8085
                                                   )
 COOK COUNTY; AMY CAMPANELLI, in                   )   Judge Matthew Kennelly
 her capacity as Public Defender of Cook           )
 County; and THOMAS DART, in his official          )
 capacity as Sheriff of Cook County,               )
                                                   )
                         Defendants.               )

                                        [PROPOSED] ORDER

    Upon consideration and review of the Parties’ Agreed Motion to Modify Paragraph 26 of the
Settlement Agreement, it is hereby ORDERED:

   1) Paragraph 26 of the Settlement Agreement is hereby modified for the reasons stated in
      the Agreed Motion to read:

       The Settlement Payment to the Claims Administrator, Brown v. Cook County Settlement
       c/o A.B. Data, Ltd., will be reported by Cook County to the appropriate tax authorities on
       an IRS Form 1099 Misc for calendar year 2020.


 DATED: ___________________                     _______________________________________
                                                THE HONORABLE MATTHEW F. KENNELLY
                                                United States District Judge
